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Co-931 Rev. 2/02
UAITED STATES DISTRICT COURT
UNSEALE FOR THE DISTRICT OF COLUMBIA

NOTICE OF DESIGNATION OF PENDING* RELATED CRIMINAL
CASE PURSUANT TO LOCAI
Case: 1:19-cr-00018

Assigned To : Judge Amy B Jackson
Assign. Date : 01/24/2019
Description: INDICTMENT (B)

ae ese Related Case: 18cr215 (ABJ)

Pursuant to LCrR 57.12(a)(1) of this Court's Rules, you should prepare this form and submit it to the
Clerk's Office along with the indictments in any related cases. One copy is needed for the Clerk's records, one for
the Judge to whom the case is assigned, and one additional copy for each defendant. Therefore, in a one defendant
case you should subnut 3 copies, for a two defendant case you should submit 4 copies, etc. The Clerk will mail
copies of this form to all defense counsel along with the arraignment notice.

NOTICE TO DEFENDANT

LCrR 57.12(b)(E) of this Court's Rules requires that any objection by the defendant to the related case
designation shall be served on the U.S. Attorney and filed with the Clerk within 10 days after arraignment.

NOTICE TO ALL COUNSEL

LCrR 57.12(b)(3) requires, in part, that as soon as an attorney for a party becomes aware of the existence
of a related case or cases, such attorney shall immediately notify in writing, the Judges on whose calendars the cases
appear and shall serve such notice on counsel for all other parties.

The prosecutor will please complete the following:

1. Name of defendant: Roger Jason Stone, Jr.

2. Number of related case: 18-cr-215 (ABJ)

3. Name of Judge assigned to related case: Hon. Amy Berman Jackson
4, Name of United States Court in which the related case is pending (if other than this Court)
5. Relationship of new case to related case:

(Check appropriate box(es)]

[| a. New case is a superceding indictment
[| b. More than one indictment is filed or pending against defendant
[ | G: Prosecution against different defendant(s) arise from:

[| a common wiretap
a common search warrant

activities which are a part of the same alleged criminal event or
transaction

(*) A case is considered pending until a defendant has been sentenced. LCrR $7.12(a)(1)
The government has designated this case as related to United States v. Viktor Netyksho et al., No. 18-cr-215 (ABJ), pursuant to LCrR 57.12(a)
(1)(il) as a prosecution against a different defendant that “arises from a common. .. search warrant” or from “activities which are a part of the
same alleged criminal event or transaction.” In particular, certain evidence that is relevant to this case was derived from search warrants
executed in Netyksho et al., and the alleged obstructive conduct in this case arises from claimed and then disputed advance knowledge about
the dissemination of stolen documents during the 2016 presidential campaign that forms, in part, the basis for the criminal charges against
Netyksho et al.
